           Case 1:19-cv-09792-JLC Document 40 Filed 10/21/20 Page 1 of 1



                                                                                              10/21/2020
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------X
 EVARISTO ESPINOBARROS BASURTO,
 individually and on behalf of others similarly situated,

                                    Plaintiff,                        ORDER

                  -against-                                           19-CV-09792 (JLC)

DIALA DELI GOURMET CORP. (D/B/A DIALA
DELI), 2009 NEW LLC (D/B/A DIALA DELI),
THIRD AVE DELI GOURMET CORP. (D/B/A
DIALA DELI), ABRAHAM KASSIM, and ERICK
VARGAS,

                                   Defendants.
-----------------------------------------------------------------X

        By Order dated October 6, 2020, the Court approved the proposed settlement in this case

and directed the parties to file a fully-executed stipulation and an order of dismissal with prejudice,

as well as dismissal of the non-appearing defendants. Dkt. No. 37. The Court also informed the

parties that it would simply close the case in the event that these submissions were not made by

October 20, 2020. To date, the parties have only filed a notice of voluntary dismissal without

prejudice of the non-appearing defendants, which the Court subsequently so ordered. As the

parties’ deadline has now passed, and in light of the approved settlement and the dismissal of the

non-appearing defendants, the Court respectfully directs the Clerk to close this case in its entirety.

        SO ORDERED.

Dated: New York, New York
       October 21, 2020
